Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 1 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 2 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 3 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 4 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 5 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 6 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 7 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 8 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document     Page 9 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 10 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 11 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 12 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 13 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 14 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 15 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 16 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 17 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 18 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 19 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 20 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 21 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 22 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 23 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 24 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 25 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 26 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 27 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 28 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 29 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 30 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 31 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 32 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 33 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 34 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 35 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 36 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 37 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 38 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 39 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 40 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 41 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 42 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 43 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 44 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 45 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 46 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 47 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 48 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 49 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 50 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 51 of 52
Case 1:09-bk-16565-MT   Doc 21 Filed 07/10/09 Entered 07/10/09 15:46:49   Desc
                        Main Document    Page 52 of 52
